                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

NISSAN NORTH AMERICA, INC.,                           )
              Plaintiff,                              )
v.                                                    )
                                                      )
CONTINENTAL AUTOMOTIVE                                )      Cause No. 3:19-cv-0396
SYSTEMS, INC. (successor to Continental               )
Teves, Inc.); CONTITECH NORTH                         )      Judge Aleta A. Trauger
AMERICA, INC.; and CONTINENTAL                        )      Magistrate Judge Newbern
TIRE THE AMERICAS, LLC (successor                     )
to Continental Tire North America, Inc.)              )
                     Defendants.                      )

PROPOSED INTERVENOR’S REPLY TO CONTINENTAL AUTOMOTIVE SYSTEM,
      INC.’ RESPONSE IN OPPOSITION TO MOTION TO INTERVENE

        Proposed Intervenor, Christina Hill, replies to Continental Automotive Systems, Inc.’s

(“CAS”) Response to Motion to Intervene [Docket No. 171] as follows:

   I.      THERE ARE COMMON QUESTIONS OF LAW AND FACT

        The issue of whether the motion raises a question of law or fact in common with the main

action should be construed liberally in cases where non-parties seek intervention for the limited

purpose of obtaining access to discovery materials. Newby v. Enron Corp., 443 F.3d 416 (5th Cir.

2006). In this circuit, there need only be one common question of law or fact. Meyer Goldberg,

Inc. v. Fisher Foods, 823 F.2d 159 (6th Cir. 1987).

        CAS makes a strained argument that there is no common question of law or fact between

the present case and the St. Louis action. CAS argues that there are certain additional issues

presented in the present case that are not present in the St. Louis action. CAS states that “No such

purchase order [for an allegedly defective part] is relevant to Hill because Nissan’s purchases of

different component parts from Continental and other suppliers were made under different




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purchase orders and, potentially a Master Purchase Agreement for the 2006 Nissan Armada, that

are not relevant to resolution of this commercial case.”

          CAS cites to no evidence for that proposition and that is the point. Proposed Intervenor is

entitled to all documents that would support this statement and all depositions that relate to any

differences in the component parts of the two braking systems. CAS’ statement supports

intervention and Proposed Intervenor needs and is entitled to discovery on this very issue.

          Moreover, what CAS ignores is that both cases involve responsibility for the defects in the

same braking system in the same subject vehicle model series. The braking system in the St. Louis

action is the same braking system at-issue in the Cruz case (which forms the basis of this case).

The primary issue – defective design of the same product and responsibility for the same – overlaps

both actions. (See, e.g., Doc. 1-1 and Doc. 159-3.)

    II.      TIMELINESS

          CAS argues that somehow the Motion to Intervene is not timely because Proposed

Intervenor has allegedly not exhausted all discovery remedies in St. Louis City Court. An

exhaustion of all other available remedies is not a requirement anywhere in Rule 24(b) or the

jurisprudence interpreting the rule.

          Discovery is still open in the present action and intervention will not delay discovery or

trial. The purpose for which the Proposed Intervenor seeks intervention is limited in scope.

Proposed Intervenor does not seek to become a part of the present action and does not seek to

participate in motion practice or in the trial of this matter. She does not seek to delay any of the

depositions scheduled in this case. Proposed Intervenor wishes to participate in future deposition

discovery and to obtain all documents produced in the present case. This would be minimally

prejudicial to the parties.



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   III.      JUDICIAL ECONOMY WEIGHS HEAVILY IN FAVOR OF INTERVENTION

          Judicial economy and efficiency favor Proposed Intervenor in this case. The claims in the

St. Louis action and the current case raise legal and factual issues that are so intertwined that

discovery related to the Proposed Intervenor’s and CAS/Nissan’s claims in separate suits would

make little practical sense. Indeed, “[t]he purpose of the rule allowing intervention is to prevent a

multiplicity of suits where common questions of law or fact are involved.” United States v.

Marsten Apartments, Inc., 175 F.R.D. 265, 267 (E.D. Mich. 1997) (quoting Wash. Elec. Coop.,

Inc. v. Mass. Mun. Wholesale Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990); see Horrigan v. Thompson,

No. 96-cv-4138, 1998 WL 246008, at *3 (6th Cir. May 7, 1998) (“[J]udicial economy is a relevant

consideration in deciding a motion for . . . intervention.”) (citation and internal quotation marks

omitted).

          Should Proposed Intervenor be forced to independently seek the same discovery that is

ongoing in the current action, it will need to conduct much of the same discovery and repeat much

of the same discovery that has occurred and will occur in this action. This will greatly expand the

proceedings of the St. Louis action. As such, “the concerns for judicial economy underlying Rule

24(b) would best be served by allowing intervention” in this case. Marsten Apartments, 175

F.R.D. at 270; see Shreve v. Franklin Cnty., Ohio, No. 10-cv-644, 2010 WL 5173162, at *3 (S.D.

Ohio Dec. 14, 2010) (“[B]ecause the Department of Justice’s claims overlap with those of

Plaintiffs and similar relief is sought, judicial economy and efficiency are furthered by allowing

the Department of Justice to intervene as opposed to filing a separate action against Defendants.”).




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   IV.       CONCLUSION

         CAS’ opposition to intervention is about shielding Proposed Intervenor from discovery of

documents that might be damaging to their case in St. Louis. Proposed Intervenor is entitled to this

discovery, and it is much more efficient for Proposed Intervenor to enter this case for the limited

purpose of discovery. The documents and testimony have already been completed in this action.

There are apparently only a few depositions left to take. Proposed Intervenor will not delay trial.

The evidence relates to both cases. For these reasons, this Court should grant the Motion to

Intervene.

         This 1st day of October, 2021.

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 1, 2021, I am electronically filing the foregoing with the
Clerk of Court using the ECF system, which will send notification of said filing to the following
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